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                                   RECEIVER’S REPORT
                           CIVIL ACTION CASE NO. 4:13-CV-001142

                             BARKER CYPRESS MARKET PLACE
                            17817 FM 529 – HOUSTON, TEXAS 77095

                                             March 15, 2014

Barker Cypress Market Place is a single story multi-tenant shopping center (25,625 SF) and single-tenant
grocery box (formerly occupied by HEB and vacant – 41,320 SF). The multi-tenant portion of the center was
constructed in 1999 and the grocery box in 1998. The property is currently 24.18% leased, with the grocery box
entirely vacant.

                      Total GLA:                                        66,945 SF
                      Leased                                             9,510 SF
                      Vacant                                            57,435 SF

APPOINTMENT OF RECEIVER:

Mark T. Fowler was appointed as Receiver on 5/30/2013.

PROPERTY MANAGEMENT

Transwestern has been retained as the property management company overseeing the day-to-day operations.

Insurance is contracted with AON Risk Services.

INCOME – INCOME 2014

The following rent payments were received in February and deposited into the Operating Account established at
Wells Fargo Bank (account no. 4941269268):

Amigo Dental                                       $2,866.67 (received & deposited in January)
First Pawn:                                        $9,616.00 (Tenant paid Jan & Feb)
Ultra Nails & Skincare:                            $659.07 (tenant is currently on free base rent)
Double Dragon:                                     $2,477.39
Q Salon:                                           $2,873.62
PayDay Advance                                     $2,663.02

PayDay Advance has vacated the premises. Thus far, PayDay Advance has continued to pay rent after vacating
the premises. HEB lease expires 1/31/2014.

        At a hearing before the Court, held on August 28, 2013, Houston Structures, LLC provided a summary
of rents Houston Structures, LLC received from tenants after the appointment of the Receiver. That summary is
attached hereto as Exhibit F. Per the summary from Houston Structures, LLC, rents totaling $110,378.76 were
received after the appointment of the Receiver. Houston Structures, LLC returned $32,000 of these rents to
Receiver following an order of the Court entered after the August 28th hearing. Following a September 10th
hearing, Receiver worked with Houston Structures, LLC and its counsel to come to an agreement related to the
remainder of these funds. An agreement was reached between the Receiver and Houston Structures, LLC
whereby the Receiver would pass on a hearing before the court scheduled for October 1, 2013 and Houston
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Structures, LLC would provide total payments of $50,000, including a payment of $36,000 on or before
October 11, 2013, payments of $5,000 on November 11, 2013 and December 11, 2013 and a payment of $4,000
on January 10, 2014.
       All payments have been received in full as of February 28, 2014.


PROPERTY ACTIVITY

       Insurance Litigation:

        Receiver intervened as the proper party plaintiff in Cause No. 2011-2933; Houston Structures, LLC v.
America First Lloyd’s Insurance Company et al.; In the 234th Judicial District Court of Harris County, Texas
(the “Lawsuit”). The Lawsuit arose out of Defendant America First Lloyd’s Insurance Company’s (the
“Insurance Co.”) denial of a claim made by Houston Structures under a commercial property insurance policy
relating to the theft/vandalism of HVAC units at the Property. The Insurance Co. denied Houston Structure’s
claim based on a “vacancy” exclusion contained in the policy. Houston Structures filed the Lawsuit on
September 6, 2011, asserting claims against its insurance broker and the Insurance Co. for breach of contract,
violations of the Texas Deceptive Trade Practices-Consumer Protection Act and the Texas Insurance Code,
negligence, and breach of the duty of good faith and fair dealing.

       Receiver reviewed the pleadings in the Lawsuit, received approximately 3,000 pages of documents
produced during discovery, reviewed two deposition transcripts, and analyzed the policy issued to Houston
Structures by the Insurance Co. Thereafter, Receiver was notified that the Note for the center had been sold to
Horizon Special Projects, LLC. Therefore, Receiver filed a motion to abate the Lawsuit. The state court signed
an order on March 5, 2014, that (1) vacated all pending deadlines in the Lawsuit, including expert witness
designation deadlines and the trial setting, and (2) abated the Lawsuit until 45 days after Receiver is discharged
and the receivership is dissolved or terminated. Pursuant to the state court’s order, within 14 days after
Receiver is discharged and the receivership is dissolved or terminated, Receiver is required to notify the state
court of the same. This will allow the owner of the state court claims to timely intervene and continue
prosecuting the Lawsuit.

       Other Matter

       Receiver has been notified that the Note for the center had been sold to Horizon Special Projects, LLC.
Receiver has made contact with the new note holder.

       Receiver assisted Double Dragon with its interior renovation.


LEASING ACTIVITY

Leasing is aggressively marketing vacancies and is currently working with the following Tenants to
renew/expand:

       Double Dragon – Expansion was executed as of September 30, 2013
       Amigo Dental – Amendment was executed as of November 25, 2013
       Quoc Nguyen dba Q Salon 2 (formerly Exclusively Yours) - Lease was executed on November 5, 2013.
       Peter Truong dba Ultra Nails - Lease was executed as of November 25, 2013.
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